    Case 8:22-cv-01820-SVW-KK Document 14 Filed 10/21/22 Page 1 of 1 Page ID #:61

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.         8:22-cv-01820-SVW-KK                                             Date      October 21, 2022
 Title            Ivin Mood v. City of Newport Beach et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                Paul M. Cruz                                    N/A
                Deputy Clerk                           Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                      N/A
 Proceedings:                 IN CHAMBERS - ORDER TO SHOW CAUSE WHY THIS CASE SHOULD
                              NOT BE DISMISSED


        The Court orders pro se plaintiff, Ivin Mood to show cause no later than November 14, 2022 why
this case should not be dismissed for being duplicative of 8:15-cv-01154 SVW(KK), which was dismissed
with prejudice and the Ninth Circuit affirmed the dismissal.




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                                                                Initials of Preparer              PMC
CV 90 (06/04)                                   CIVIL MINUTES - GENERAL                                   Page 1 of 1
